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 9   DENTAL OFFICE
10

11

12
                          UNITED STATES DISTRICT COURT

13                      CENTRAL DISTRICT OF CALIFORNIA
14                                SOUTHERN DIVISION
15

16   M. PAPADOPOULOS DENTAL                      Case No. 19-cv-6739
     CORP. dba VILLAGE FAMILY
17   DENTAL OFFICE, individually, and            CLASS ACTION COMPLAINT
     on behalf of others similarly situated,
18
                  Plaintiff,
19
           vs.
20
     PHILIPS ORAL HEALTHCARE,
21   INC.
22                Defendant.
23

24

25                             CLASS ACTION COMPLAINT
26         1.     M. PAPADOPOULOS DENTAL CORP. dba VILLAGE FAMILY
27   DENTAL OFFICE (“Plaintiff”) brings this class action complaint individually, and
28   on behalf of all others similarly situated, against PHILIPS ORAL HEALTHCARE,

                                               -1-                CLASS ACTION COMPLAINT
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 1
     INC. (“Defendant”) for violations of the Telephone Consumer Protection Act
 2
     (“TCPA”) for transmitting one or more facsimiles advertising the commercial
 3   availability or quality of property, goods, or services, without having obtained prior
 4   express invitation or permission to transmit said facsimiles, at any time during the
 5   period beginning four (4) years prior to the commencement of this action and
 6   continuing until the present.
 7         2.      Plaintiff’s claims arise under the Telephone Consumer Protection Act,
 8   47 U.S.C. § 227(b)(1)(C), and the regulations, 47 C.F.R. § 64.1200(a)(3),
 9   promulgated thereunder (hereinafter referred to collectively as “TCPA” unless
10   otherwise indicated). Plaintiff seeks statutory damages and injunctive relief.

11
           3.      The TCPA expressly prohibits unsolicited fax advertising. Unsolicited
     fax advertising damages the recipients. The recipient is deprived of its paper and ink
12
     or toner, and the use of its fax machine. The recipient also wastes valuable time it
13
     would have spent on other matters. Unsolicited faxes prevent fax machines from
14
     receiving and sending authorized faxes, cause wear and tear on fax machines, and
15
     require labor to attempt to identify the source and purpose of the unsolicited faxes.
16
                               JURISDICTION AND VENUE
17
           4.      This Court has federal question jurisdiction because this case arises out
18
     of violations of federal law. 47 U.S.C. §227(b); Mims v. Arrow Fin. Servs., LLC, 132
19
     S. Ct. 740 (2012).
20
          5.       Venue is proper in the United States District Court for the Central
21
     District of California pursuant to 18 U.S.C. § 1391(b) and 1441(a) because
22
     Defendant is subject to personal jurisdiction in the County of Los Angeles, State of
23
     California as Defendant regularly conduct business throughout the State of
24
     California.
25
                                           PARTIES
26
           6.      Plaintiff, was and is at all relevant times herein, a resident of the state
27
     of California.
28

                                              -2-                      CLASS ACTION COMPLAINT
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 1
           7.     Defendant is a Washington corporation with its headquarters in Bothell,
 2
     WA which transacts business in California.
 3
           8. At all times relevant hereto, while conducting business in California,
 4
     Defendant has been subject to, and required to abide by the laws of the United States
 5
     which include the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227,
 6
     et seq., and its related regulations that are set forth at 47 C.F.R. § 64.1200 (the “TCPA
 7
     Regulations”), as well as the opinions, regulations and order issued by courts and the
 8
     Federal Communication Commission (“FCC”) implementing, interpreting and
 9
     enforcing the TCPA and the TCPA Regulations.
10
                                FACTUAL ALLEGATIONS
11
           9.     Defendant at all times relevant to the complaint herein engaged in
12
     telecommunications by means of telephone facsimile machines as defined by the
13
     TCPA 47 U.S.C. § 227(a)(3).
14
           10.    Upon information and belief, Defendant regularly advertises its goods
15
     and services to recipients by transmitting fax advertisements.
16
           11.    Upon information and belief, the faxes were sent by means of a
17
     telephone facsimile machine that has the capacity to transcribe text or images, or
18
     both, from paper into an electronic signal and to transmit that signal over a regular
19
     telephone line, or onto paper, and send thousands of faxes per day to facsimile
20
     numbers that were preselected by Defendant.
21
          12.     Upon information and belief, Defendant has no procedure or means for
22
     recipients who do not consent to receiving the faxes to stop receiving them.
23
          13.     In this instant case, Defendant had no prior established business
24
     relationship with Plaintiff. Plaintiff has never in the past used Defendant’s services,
25
     nor given Defendant consent to receive unsolicited fax advertisements from
26
     Defendant.
27
          14.     Within four (4) years prior to the commencement of this action,
28

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 1
     Defendant, or a third party agent acting on behalf of Defendant, willfully and
 2
     knowingly transmitted facsimiles to Plaintiff that advertised the commercial
 3
     availability or quality of property, goods, or services.
 4
          15.     Specifically, on or about April 6, 2018, Defendant caused to be
 5
     delivered, which Plaintiff received at Plaintiff’s facsimile number ending in 5137, a
 6
     facsimile advertisement which solicited Plaintiff’s business by advertising
 7
     Professional Trial Offers for its products. See Exhibit A.
 8
          16.     Plaintiff did not give Defendant, or any third party acting on behalf of
 9
     Defendant, prior express invitation or permission to transmit the aforementioned
10
     facsimiles, thereby rendering them unsolicited.
11
          17.     Plaintiff did not agree to make available its facsimile number for
12
     advertisement in a directory.
13
          18.     Based upon information and belief, Defendant transmitted as many as
14
     one (1) unsolicited advertisements to Plaintiff.           Discovery may reveal the
15
     transmission of additional faxes.
16
          19.     Defendant’s transmission of unsolicited fax advertisements to Plaintiff
17
     and the putative class members is in direction violation of 47 U.S.C. § 227(b)(1)(C),
18
     which specifically prohibits the:
19
           use any telephone facsimile machine, computer, or other device to send, to a
20
           telephone facsimile machine, an unsolicited advertisement, unless—
21
           (i) the unsolicited advertisement is from a sender with an established business
22
           relationship with the recipient;
23

24         (ii) the sender obtained the number of the telephone facsimile machine

25         through—

26         (I) the voluntary communication of such number, within the context of such
27         established business relationship, from the recipient of the unsolicited
28         advertisement, or

                                              -4-                     CLASS ACTION COMPLAINT
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 1
           (II) a directory, advertisement, or site on the Internet to which the recipient
 2
           voluntarily agreed to make available its facsimile number for public
 3
           distribution, except that this clause shall not apply in the case of an unsolicited
 4
           advertisement that is sent based on an established business relationship with
 5
           the recipient that was in existence before July 9, 2005, if the sender possessed
 6
           the facsimile machine number of the recipient before July 9, 2005; and
 7
           (iii) the unsolicited advertisement contains a notice meeting the requirements
 8
           under paragraph (2)(D).
 9

10         20.     Defendant, whose products or services were advertised, or whose

11   clients’ and/or agents’ products or services were advertised in the faxes, derived

12   economic benefit from the sending of these faxes.

13         21.     As a result of Defendant’s alleged violations of law by placing these

14   unsolicited fax advertisements from Defendant, Defendant caused Plaintiff harm

15   and/or injury such that Article III standing is satisfied in at least the following, if not

16   more, ways:

17                 a.    Invading Plaintiff’s privacy;
18                 b.    Electronically intruding upon Plaintiff’s seclusion;
19                 c.    Intrusion into Plaintiff’s use and enjoyment of its facsimile
20   machine;
21                 d.    Impermissibly occupying minutes, data, availability to receive
22   other faxes, and various other intangible rights that Plaintiff has as to complete
23   ownership and use of its facsimile machine;
24                 e.    Causing Plaintiff to expend needless time in receiving,
25   answering, and attempting to dispose of Defendant’s unwanted faxes.
26   ///
27

28

                                               -5-                      CLASS ACTION COMPLAINT
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 1
                              CLASS ACTION ALLEGATIONS
 2
           22.    Plaintiff brings this action individually and on behalf of and all others
 3
     similarly situated (“the Class”).
 4
           23.    Plaintiff represents, and is a member of, the Classes, consisting of:
 5
           All persons in the United States who received any unsolicited fax
 6
           advertisement on their telephone facsimile machines from Defendant or
 7
           its agents(s) and/or employee(s) within the four years prior to the filing
 8
           of the Complaint.
 9
           Defendant and its employees or agents are excluded from the Classes. Plaintiff
10
     does not know the number of members in the Classes, but believe the Class members
11
     number in the thousands, if not more. Thus, this matter should be certified as a Class
12
     action to assist in the expeditious litigation of this matter.
13
           24.     Plaintiff and members of the Classes were harmed by the acts of
14
     Defendant in at least the following ways: Defendant, either directly or through its
15
     agents, illegally contacted Plaintiff and the Class members via their telephone
16
     facsimile machines by sending unsolicited fax advertisements. Plaintiff and the Class
17
     members were damaged thereby.
18
           25.    This suit seeks only damages and injunctive relief for recovery of
19
     economic injury on behalf of the Class, and it expressly is not intended to request any
20
     recovery for personal injury and claims related thereto. Plaintiff reserves the right to
21
     expand the Class definition to seek recovery on behalf of additional persons as
22
     warranted as facts are learned in further investigation and discovery.
23
           26.    The joinder of the Class members is impractical and the disposition of
24
     their claims in the Class action will provide substantial benefits both to the parties
25
     and to the court. The Class can be identified through Defendant’s records or
26
     Defendant’s agents’ records.
27

28

                                               -6-                    CLASS ACTION COMPLAINT
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 1
           27.    There is a well-defined community of interest in the questions of law
 2
     and fact involved affecting the parties to be represented. The questions of law and
 3
     fact to the Classes predominate over questions which may affect individual Class
 4
     members, including the following:
 5
            a.    Whether, within the four years prior to the filing of this Complaint,
 6
                  Defendant or its agents sent any unsolicited fax advertisements to a
 7
                  Class member;
 8
            b.    Whether Plaintiff and the Class members were damaged thereby, and
 9
                  the extent of damages for such violation; and
10
            c.    Whether Defendant and its agents should be enjoined from engaging in
11
                  such conduct in the future;
12
           28. As a recipient of unsolicited fax advertisements from Defendant, Plaintiff
13
     is asserting claims that are typical of the Class. Plaintiff will fairly and adequately
14
     represent and protect the interests of the Classes in that Plaintiff has no interests
15
     antagonistic to any member of the Classes.
16
           29.    Plaintiff and the members of the Classes have all suffered irreparable
17
     harm as a result of the Defendant’s unlawful and wrongful conduct. Absent a class
18
     action, the Classes will continue to face the potential for irreparable harm. In
19
     addition, these violations of law will be allowed to proceed without remedy and
20
     Defendant will likely continue such illegal conduct. Because of the size of the
21
     individual Class member’s claims, few, if any, Class members could afford to seek
22
     legal redress for the wrongs complained of herein.
23
           30.    Plaintiff has retained counsel experienced in handling class action
24
     claims and claims involving violations of the Telephone Consumer Protection Act.
25
           31.    A class action is a superior method for the fair and efficient adjudication
26
     of this controversy. Class-wide damages are essential to induce Defendant to comply
27
     with federal and state laws. The interest of Class members in individually controlling
28

                                             -7-                      CLASS ACTION COMPLAINT
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 1
     the prosecution of separate claims against Defendant is small because the maximum
 2
     statutory damages in an individual action for violation of privacy are minimal.
 3
     Management of these claims is likely to present significantly fewer difficulties than
 4
     those presented in many class claims.
 5
            32.   Defendant has acted on grounds generally applicable to the Class,
 6
     thereby making appropriate final injunctive relief and corresponding declaratory
 7
     relief with respect to the Class as a whole.
 8
                                FIRST CLAIM FOR RELIEF
 9
         (Violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227)
10
            33.   Plaintiff incorporates by reference all of the above paragraphs of this
11
     Complaint as though fully set forth herein at length.
12
            34.   At all times herein, Plaintiff was and is entitled to the rights, protections
13
     and benefits provided under the Telephone Consumer Protection Act, 47 U.S.C. §
14
     227.
15
            35.   The transmission of facsimiles to Plaintiff as set forth above, violated
16
     47 U.S.C. § 227(b)(1)(C).
17
            36.   Based upon the foregoing, Plaintiff is entitled to statutory damages
18
     pursuant to 47 U.S.C. §§ 227(b)(3)(B) and 227(b)(3)(C).
19
            37.   Based upon the foregoing, Plaintiff is entitled to an Order, pursuant to
20
     47 U.S.C. § 227(b)(3)(A), enjoining Defendant from transmitting any advertisements
21
     in violation of 47 U.S.C. § 227(b)(1)(C).
22
                                   PRAYER FOR RELIEF
23
            WHEREFORE, Plaintiff and members of the Class respectfully request that
24
     judgment be entered against Defendant for the following:
25
            A.    As a result of Defendant’s negligent violations of 47 U.S.C. §
26
     227(b)(1)(C), Plaintiff and each member of the Classes is entitled to and requests five
27

28

                                              -8-                      CLASS ACTION COMPLAINT
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 1
     hundred dollars ($500.00) in statutory damages, for each and every violation,
 2
     pursuant to 47 U.S.C. § 227(b)(3)(B); and
 3
           B.    As a result of Defendant’s willful and/or knowing violations of 47
 4
     U.S.C. § 227(b)(1)(C), Plaintiff and each member of the Class is entitled to and
 5
     requests treble damages, as provided by statute, up to one thousand five hundred
 6
     dollars ($1,500.00), for each and every violation pursuant to 47 U.S.C. §
 7
     227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C); and;
 8
           C.    Issuing an Order, pursuant to 47 U.S.C. § 227(b)(3)(A), enjoining
 9
     Defendant from violating 47 U.S.C. § 227(b)(1)(C) and 47 C.F.R. § 64.1200(a)(3);
10
     and
11
           D.    For such other and further relief as the Court may deem just and proper.
12
                              DEMAND FOR JURY TRIAL
13
           Please take notice that Plaintiff, M. PAPADOPOULOS DENTAL CORP. dba
14
     VILLAGE FAMILY DENTAL OFFICE, demands trial by jury in this action
15
     pursuant to the seventh amendment to the Constitution of the United States.
16

17
                                           RESPECTFULLY SUBMITTED,
18
     Dated: August 2, 2019                 MARTIN & BONTRAGER, APC
19

20
                                           By: /s/ G. Thomas Martin, III        _
21
                                                 G. Thomas Martin, III
22

23

24

25

26

27

28

                                           -9-                     CLASS ACTION COMPLAINT
